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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                       )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )   Adv. Pro. No. 21-03005 (SGJ)
                                                                        )
NEXPOINT ADVISORS, L.P.,                                                )
                                                                        )
                              Defendant.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

      I, Hannah Bussey, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 9, 2021, at my direction and under my supervision, employees of KCC caused
the following documents to be served via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

      •   Debtor’s Opposition to Motion for Entry of Protective Order [Docket No. 51]

      •   Declaration of John A. Morris in Support of the Debtor’s Opposition to Motion for
          Entry of Protective Order [Docket No. 52]




                                           (Continued on Next Page)




1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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   •   The Official Committee of Unsecured Creditor and the Litigation Advisor's
       Objection to Highland Capital Management Fund Advisors, L.P. and NexPoint
       Advisors, L.P.'s Motion for Entry of Protective Order [Docket No. 53]


Dated: August 12, 2021
                                           /s/ Hannah Bussey
                                           Hannah Bussey
                                           KCC
                                           Meidinger Tower
                                           462 South 4th Street
                                           Louisville, KY 40202




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                             EXHIBIT A
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                                                                  Exhibit A
                                                            Adversary Service List
                                                           Served via Electronic Mail


               Description                      CreditorName          CreditorNoticeName                             Email
  Financial Advisor to Official Committee                        Earnestiena Cheng, Daniel H         Earnestiena.Cheng@fticonsulting.com;
  of Unsecured Creditors                  FTI Consulting         O'Brien                             Daniel.H.O'Brien@fticonsulting.com
                                                                 Melissa S. Hayward, Zachery         MHayward@HaywardFirm.com;
  Counsel for the Debtor               Hayward & Associates PLLC Z. Annable                          ZAnnable@HaywardFirm.com
  Counsel for UBS Securities LLC and                             Andrew Clubok, Sarah                andrew.clubok@lw.com;
  UBS AG London Branch                 Latham & Watkins LLP      Tomkowiak                           sarah.tomkowiak@lw.com
  Counsel for UBS Securities LLC and                             Asif Attarwala, Kathryn K.          asif.attarwala@lw.com;
  UBS AG London Branch                 Latham & Watkins LLP      George                              Kathryn.George@lw.com
  Counsel for UBS Securities LLC and                             Jeffrey E. Bjork, Kimberly A.       jeff.bjork@lw.com;
  UBS AG London Branch                 Latham & Watkins LLP      Posin                               kim.posin@lw.com
  Counsel for UBS Securities LLC and                                                                 Zachary.Proulx@lw.com;
  UBS AG London Branch                 Latham & Watkins LLP            Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
  Counsel for Highland Capital
  Management Fund Advisors, L.P.,
  NexPoint Advisors, L.P., Highland
  Income Fund, NexPoint Strategic
  Opportunities Fund and NexPoint      Munsch Hardt Kopf & Harr,       Davor Rukavina, Esq., Julian drukavina@munsch.com;
  Capital Inc.                         P.C.                            P. Vasek, Esq.               jvasek@munsch.com
                                                                                                    mclemente@sidley.com;
                                                                       Matthew Clemente, Alyssa     alyssa.russell@sidley.com;
  Counsel for Official Committee of                                    Russell, Elliot A. Bromagen, ebromagen@sidley.com;
  Unsecured Creditors                  Sidley Austin LLP               Dennis M. Twomey             dtwomey@sidley.com
                                                                                                    preid@sidley.com;
                                                                       Penny P. Reid, Paige Holden pmontgomery@sidley.com;
  Counsel for Official Committee of                                    Montgomery, Juliana Hoffman, jhoffman@sidley.com;
  Unsecured Creditors                  Sidley Austin LLP               Chandler M. Rognes           crognes@sidley.com




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                             EXHIBIT B
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                                                                                    Exhibit B
                                                                              Adversary Service List
                                                                            Served via First Class Mail


               Description                   CreditorName                CreditorNoticeName                  Address1                 Address2             City      State    Zip
  Counsel for UBS Securities LLC and                               Andrew Clubok, Sarah            555 Eleventh Street, NW,
  UBS AG London Branch                 Latham & Watkins LLP        Tomkowiak                       Suite 1000                                          Washington    DC      20004
  Counsel for UBS Securities LLC and                               Asif Attarwala, Kathryn K.      330 North Wabash Avenue,
  UBS AG London Branch                 Latham & Watkins LLP        George                          Ste. 2800                                           Chicago       IL      60611
  Counsel for UBS Securities LLC and                               Jeffrey E. Bjork, Kimberly A.
  UBS AG London Branch                 Latham & Watkins LLP        Posin                           355 S. Grand Ave., Ste. 100                         Los Angeles   CA      90071
  Counsel for UBS Securities LLC and
  UBS AG London Branch                 Latham & Watkins LLP        Zachary F. Proulx, Jamie Wine 1271 Avenue of the Americas                           New York      NY      10020
  Counsel for Highland Capital
  Management Fund Advisors, L.P.,
  NexPoint Advisors, L.P., Highland
  Income Fund, NexPoint Strategic
  Opportunities Fund and NexPoint      Munsch Hardt Kopf & Harr,   Davor Rukavina, Esq., Julian P.
  Capital Inc.                         P.C.                        Vasek, Esq.                     3800 Ross Tower               500 N. Akard Street   Dallas        TX      75202




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